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     CHARLES LA BELLA
 1   Deputy Chiefs
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 2   ALISON ANDERSON
     Trial Attorneys
 3   Fraud Section, Criminal Division
     U.S. Department of Justice
 4   1400 New York Avenue, NW
     Washington, DC 20530
 5   (202) 616-1682
 6
                           UNITED STATES DISTRICT COURT
 7
                                DISTRICT OF NEVADA
 8                                     -oOo-
 9   UNITED STATES OF AMERICA,                   )
                                                 )   CASE NO. 2:13-cr-00018-JCM-GWF
10                                               )
                      Plaintiff,                 )
11                                               )
12                    v.                         )
                                                 )
13   RICKY ANDERSON,                             )
                                                 )
14                    Defendant.                 )

15

16

17          UNOPPOSED MOTION FOR APPLICATION OF PROTECTIVE ORDER

18          On May 13, 2014, the Court entered a stipulated protective order in this case. (Doc. No.

19   283). The protective order applied only to Defendants Benzer, Gregory, McChesney, Ruvolo,

20   and Ball. Although Defendant Ricky Anderson is scheduled for a change of plea hearing on

21   Friday, June 6 (Doc. No. 288), counsel for Defendant Anderson have asked to be added to the

22   protective order so that they also may review this discovery. The United States does not oppose

23   counsel for Defendant Anderson being added to the protective order, and so moves the Court for

24   such an order.

25          Counsel for the United States has conferred with counsel for Defendant Anderson and

26   they do not oppose this motion.




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 1                                        Respectfully submitted,
 2

 3                                        JEFFREY H. KNOX
                                          Chief, U.S. Department of Justice
 4                                        Fraud Section, Criminal Division
 5

 6                                        /s/ Thomas B.W. Hall
                                          THOMAS B.W. HALL
 7                                        Trial Attorney, U.S. Dept. of Justice
                                          Criminal Division, Fraud Section
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 1                      UNITED STATES DISTRICT COURT
 2                           DISTRICT OF NEVADA
                                    -oOo-
 3
     UNITED STATES OF AMERICA,                   )
 4                                               )       CASE NO. 2:13-cr-00018-JCM-GWF
                                                 )
 5                 Plaintiff,                    )
                                                 )
 6
                   v.                            )
 7                                               )       (PROPOSED) ORDER
     RICKY ANDERSON,                             )
 8                                               )
                   Defendant.                    )
 9

10                                               ORDER
11          Based on the United States’s unopposed motion and good cause so appearing, it is
12   ORDERED that Defendant Ricky Anderson and his counsel are bound to the stipulated
13   protective order entered in this case on May 13, 2014 (Doc. No. 283).
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16                                                        ___________________________
                                                          HON. GEORGE FOLEY JR.
17                                                        UNITED STATES MAGISTRATE JUDGE
18                                                        Dated: June 3, 2014

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 1                        UNITED STATES DISTRICT COURT
 2                             DISTRICT OF NEVADA
                                      -oOo-
 3
     UNITED STATES OF AMERICA,                      )
 4                                                  )       CASE NO. 2:13-cr-00018-JCM-GWF
                                                    )
 5                   Plaintiff,                     )
                                                    )
 6
                     v.                             )
 7                                                  )
     RICKY ANDERSON,                                )
 8                                                  )
                     Defendant.                     )
 9

10           I, the undersigned, hereby certify that this pleading was filed with the clerk of court via
11   ECF and will be served electronically via ECF on all parties that have entered their appearances
12   in this case.
13

14           Dated: June 2, 2014
15

16                                                  JEFFREY H. KNOX
                                                    Chief, U.S. Department of Justice
17                                                  Fraud Section, Criminal Division
18
                                                    /s/ Thomas B.W. Hall
19
                                                    THOMAS B.W. HALL
20                                                  Trial Attorney, U.S. Dept. of Justice
                                                    Criminal Division, Fraud Section
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